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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



MARK ORTEGA, individually and on
behalf of all others similarly situated,           Case No. 5:24-CV-369-JKP-ESC
                              Plaintiff,

               v.

DITOMMASO INC.,
and DATA KING OF NEW YORK INC.,
and MERIDIAN SERVICES L.L.C.,
                     Defendants.



                               CLERK’S ENTRY OF DEFAULT

         The Plaintiff, Mark Anthony Ortega, having filed a Complaint (ECF No. 1) on April 10,

2024 and his Second Amended Complaint (ECF No. 16) on June 25, 2024, and the Defendant,

Meridian Services L.L.C, having failed to plead or otherwise defend as required by the Federal

Rules of Civil Procedure, and the time for responding having expired;

         IT IS ORDERED, that the Clerk enter the default of the Defendant, Meridian Services

L.L.C.



Date: 01/27/2025                                   By: __________________________
                                                       Clerk of Court
